






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS






IN RE: ERIC FLORES,



Relator.
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No. 08-09-00043-CR


			

AN ORIGINAL PROCEEDING 


IN MANDAMUS







MEMORANDUM OPINION ON PETITION FOR WRIT OF MANDAMUS


	Relator, Eric Flores, seeks a writ of mandamus to compel the Honorable Maria Salas-Mendoza, Judge of the 120th Judicial District Court to "be ministerially compelled to allow the
relator and his next appointed attorney to instruct the jury to answer a questionnaire of
contentions dictating the jurors' involvement in the case to extenuate political activity during jury
trial."

	In order to obtain relief through a writ of mandamus, a relator must establish:  (1) no
other adequate remedy at law is available; and (2) that the act he seeks to compel is ministerial. 
State ex rel. Young v. Sixth Judicial Dist. Court of Appeals At Texarkana, 236 S.W.3d 207, 210
(Tex.Crim.App. 2007).  An act is ministerial if it does not involve the exercise of any discretion. 
State ex  rel. Hill v.  Court of Appeals for the Fifth District, 34 S.W.3d 924, 927 (Tex.Crim.App. 
2001).  Based on the petition and record provided, Mr. Flores has not demonstrated he is entitled
to mandamus relief.  See Tex.R.App.P. 52.8.  We therefore deny relator's request.


February 20, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


